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DICKEY’S BARBECUE RESTAURANTS, INC.
Plaintiff,

FOR THE NORTHERN DISTRICT OF?TEXA

DALLAS DIVISION
DEPUTY CLERK —P-

CIVIL ACTION No.

VS.

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LIRA, LLC and LUIGI MANGIONE
Defendants.
PLAINTIFF'S ORIGINAL COMPLAINT AND APPLICATION FOR TEMPORARY

RESTRAINING ORDER, PRELIMINARY AND PERMANENT INJUNCTION
AND RECOVERY OF DAMAGES

TO THE HONORABLE JUDGE OF SAID COURT:
COMES NOW the Plaintiff Dickey’s Barbecue Restaurants, Inc. ("Plaintiff") complaining of
Defendants Lira, LLC (“Defendant Lira’) and Luigi Mangione (“Defendant Mangione”), (sometimes

collectively referred to as “Defendants”), and for cause of action would respectfully show the

following:
I.
JURISDICTION AND VENUE’
1. The action asserts a claim for a violation of a federally-registered trademark,

including a claim under 15 U.S.C.§§ 1116, 1117 and 1125 and this court has jurisdiction of that

claim under 15 U.S.C.§§ 1121(a), 28 U.S.C. §1338(a), and jurisdiction over all related unfair

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compensation claims under 28 U.S.C. §1338(b).

2. All other claims asserted in this action arise out of the same transaction or
occurrence, so that this court has supplemental jurisdiction over all additional claims asserted in
this action under 28 U.S.C. §1367(a). Personal jurisdiction over the parties is more fully set forth
in § II below.

3, Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391 (b) and (c)
because a substantial part of the events or omissions giving rise to the claim occurred within this
judicial district. Defendants executed a Franchise Agreement which contains a forum selection
clause (§] 26.3) selecting the Federal District Court for the Northern District of Texas, Dallas
Division as the forum and venue in Dallas County, Texas.

Il.
PARTIES

4. Plaintiff is a Texas corporation organized and existing under the laws of the State
of Texas with its principal place of business in Dallas, Dallas County, Texas.

5, Defendant Lira, LLC is a foreign Idaho limited liability company with its principal
place of business at 2441 N. Snow Goose Way, Meridian, Idaho, 83646 and which has engaged in
business in Texas but does not maintain a regular place of business or a designated agent for
service of process in Texas and which may be served with process at its registered office and
home office by service upon its registered agent, Mr. Luigi Mangione at its registered address and
home office at 2441 N. Snow Goose Way, Meridian, Idaho, 83646. Defendant Lira, has

contracted with Texas residents, by mail and otherwise on a contract performable in whole or in

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part in Texas with regard to the negotiation, execution, and performance of obligations under the
Franchise Agreement and/or Assumption Agreement as more fully set forth below. Pursuant to 4
26.3 of the Franchise Agreement, Defendant Lira expressly consented to jurisdiction in the state
courts of Dallas County, Texas and that service of process may be made upon Defendant Lira in
any legal proceeding related to or arising out of the Franchise Agreement by any means allowed
by Texas law. Pursuant to 926.3 and §26.4 of the Franchise Agreement, Defendant Lira
acknowledged the parties agreement regarding the applicable Texas law and Texas forum.
Pursuant to 26.5 of the Franchise Agreement, Defendant Lira acknowledged that execution of
the Franchise Agreement occurred in Dallas, Texas and that performance of Defendant Lira’s
obligations arising under the Franchise Agreement, including payment and the satisfaction of
certain training requirements occurred in Dallas, Texas. Defendant Lira has therefore engaged in
acts constituting doing business in Texas pursuant to §17.042 of the Tex. Civ. Prac. & Rem
Code. Defendant Lira has established sufficient minimum contacts with the State of Texas to
subject it to jurisdiction in Texas and has purposefully availed itself of the laws of the State of
Texas. The claims alleged below arise out of such minimum contacts and the business done in this
state and to which the non-resident is a party. The assertion of jurisdiction over Defendant Lira
would not offend traditional notions of fair play and substantial justice, and is consistent with
constitutional requirements for due process. Accordingly, Tex. Civ. Prac. & Rem. C. §17.044(a)
(1) and (b) provides that the Secretary of State of Texas shall be an agent of the non-resident
corporation upon whom process may be served. The Secretary of State shall immediately cause

one copy of the citation with petition attached to be forwarded by registered or certified mail

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addressed to the corporation at its registered and home office, pursuant to Tex. Civ. Prac. & Rem
Code §17.045(a).

6. Defendant Luigi Mangione is an individual who is a citizen and resident of Idaho
who has engaged in business in Texas but does not maintain a regular place of business or a
designated agent for service of process in Texas and who may be served with process at his
principal place of business and home office at 2441 N. Snow Goose Way, Meridian, Idaho,
83646. Defendant Mangione has contracted with Texas residents, by mail and otherwise on a
contract performable in whole or in part in Texas with regard to the negotiation, execution, and
performance of obligations under the Franchise Agreement and/or Assumption Agreement as
more fully set forth below. Pursuant to the Guaranty of Your Principals, §]1 of the Assumption
Agreement and § 26.3 of the Franchise Agreement, Defendant Mangione expressly consented to
jurisdiction in the state courts of Dallas County, Texas and service of process may be made upon
Defendant Mangione in any legal proceeding related to or arising out of the Franchise Agreement
by any means allowed by Texas law. Pursuant to § 26.3 and 26.4 of the Franchise Agreement,
Defendant Mangione acknowledged the parties agreement regarding the applicable Texas law and
Texas forum. Pursuant to § 26.5 of the Franchise Agreement, Defendant Mangione
acknowledged that execution of the Franchise Agreement occurred in Dallas, Texas and that
performance of obligations arising under the Franchise Agreement, including payment and the
satisfaction of certain training requirements occurred in Dallas, Texas. Defendant Mangione has
therefore engaged in acts constituting doing business in Texas pursuant to §17.042 of the Tex.

Civ. Prac. & Rem Code. Defendant Mangione has established sufficient minimum contacts with

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the State of Texas to subject himself to jurisdiction in Texas and has purposefully availed himself
of the rights and benefits of the laws of the State of Texas. The claims alleged below arise out of
such minimum contacts and the business done in this state and to which the non-resident is a
party. The assertion of jurisdiction over Defendant Mangione would not offend traditional
notions of fair play and substantial justice, and is consistent with constitutional requirements for
due process. Accordingly, Tex. Civ. Prac. & Rem. C. §17.044(a) (1) and (b) provides that the
Secretary of State of Texas shall be an agent of the non-resident upon whom process may be
served. The Secretary of State shall immediately cause one copy of the citation with petition
attached to be forwarded by registered or certified mail addressed to the non-resident at his
principal place of business and home office, pursuant to Tex. Civ. Prac. & Rem Code §17.045(a).
HI.

FACTUAL BACKGROUND

7. Plaintiff or its predecessors in interest have engaged in the business of operating
barbecue restaurants and selling food, food products and catering services to the public since
1941.

8. The business of the Plaintiff has grown from small beginnings, on or about March
7, 1994 to a large and prosperous business. Plaintiff now possesses more than 115 franchise
restaurants throughout the United States in which Plaintiff's food, food products and catering
services are sold exclusively.

9. Plaintiff has acquired the right to develop and as a result of the expenditure of

time, skill, effort and money has developed, a unique and distinctive system relating to the

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establishment and operation of counter-style quick-service restaurants under the name and mark
“Dickey’s Barbecue Pit” featuring the sale of freshly-prepared barbecued meats and other food
products (the “System”).

10... The distinguishing characteristics of the System include, without limitation,
distinctive exterior and interior design, décor, color scheme and furnishings; special recipes and
menu items, uniform standards, specifications and procedures for operations, quality and
uniformity of products and services, inventory and management control, training and assistance
and advertising and promotional programs; all of which may be changed, improved and further
developed by Plaintiff from time to time.

11. Plaintiff determined to continue development of the System through the granting
of franchises using certain trade names, service marks, trademarks, symbols, logos, name and
emblems, and indicia of origin, including but not limited to the mark “Dickey’s Barbecue Pit” and
such other trade names, service marks and trademarks as Dickey’s may develop in the future to
identify for the public the source of services and products marketed under these marks and under
the System and representing the System’s high standards of quality, appearance, and service
(collectively, the “Proprietary Marks”).

12. On or about March 20, 2006, Plaintiff and Defendant Lira’s predecessor in
interest Lira, Inc. executed that certain Franchise Agreement concerning the operation of a
Dickey’s Barbecue Pit at 2441 N. Snow Goose Way, Meridian, Idaho, 83646 (the “Franchise”).

13. Effective March 1, 2007, Plaintiff and Defendant Lira executed that certain

Assumption Agreement (the “Assumption Agreement”) in which Defendant Lira assumed the

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rights, liabilities and obligations of Lira, Inc. with regard to the operation under the Franchise
Agreement. Defendant Mangione additionally guaranteed the covenants, representations and
warranties of the Franchisee and acknowledged and accepted the undertakings of the principals in
the Agreement.

14. Article 4 of the Franchise Agreement described above, provides for the payment of
a monthly royalty fee as calculated therein.

15. Article 5 of the Franchise Agreement described above, provides for the payment of
an advertising fee as calculated therein.

16. With regard to the Franchise, Defendant Lira has failed to pay the royalty fee or
the advertising fee due October 10, 2009 or any month thereafter in the total amount of
$16,203.93 as of February 9, 2010. Such royalty fees and advertising fees are more fully set forth
in the verification and the statement of account attached to the Appendix of this Complaint as
Exhibit “A” and incorporated herein by reference. Further, Plaintiff has incurred additional
damages, costs and expenses as a result of the default and termination of the Franchise Agreement
more fully described below. Such additional costs and expenses incurred by Plaintiff as a result
of defendants’ default and termination are recoverable against Defendants pursuant to Article H.
and I. of the Franchise Agreement.

17. By correspondence dated December 7, 2009 and December 30, 2009 respectively,
both Plaintiff and Plaintiffs counsel gave Defendants notice of default based upon the following
events of default:

1. Failure by the franchisee to pay applicable royalty fees;

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2. Failure by the franchisee to make applicable contributions to the Marketing Fund,

3. Failure by the franchisee to have the subject restaurant open for business on
Friday, November 27, 2009,

4. Failure by the franchisee to account for off site sales from a trailer which is
located routinely at Boise State University,

5. Failure by the franchisee to disclose all sales records for all operations both on site
and off site;

6. Failure by the franchisee to allow the Dickey’s representative to inspect the
restaurant premises and review accounting records.

18. By correspondence dated January 19, 2010, Plaintiff gave Defendants notice of
termination of the Franchise Agreement and notified Defendants that, pursuant to the terms of
Article 17 of the Franchise Agreement, all rights granted to Defendants under the Franchise

Agreement had terminated and Defendants were commanded as follows:

A. You shall immediately cease to operate the Restaurant as a Dickey’s Restaurant
and shall not thereafter directly or indirectly, represent to the public or hold
yourself out as a present or former franchisee of Dickey’s.

B. You shall immediately and permanently cease to use, in any manner, any
confidential methods, procedures, techniques, and trade secrets associated with
the System, the Proprietary Marks, and all other distinctive forms, slogans, signs,
symbols and devices associated with the System, as set forth in the Manuals. In
particular, you shall cease to use, without limitation, all signs, advertising
materials, displays, stationary, forms, and any other articles which display the
Proprietary Marks.

C. You shall take such action as may be necessary to cancel any assumed name or
equivalent registration which contains the mark Dickey’s Barbecue Pit or any part
thereof or any other service mark or trademark of Dickey’s and you shall furnish
Dickey’s with evidence satisfactory to Dickey’s of compliance with this
obligation within five (5) days, after the termination or expiration of the

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Agreement.

D. You are instructed to make such modifications or alterations to distinguish the
appearance of such premises from that of other restaurants operating under the
System and shall make such specific additional changes as Dickey’s may
reasonably request. If you fail or refuse to comply with the requirements of
Article 17(D) of the Franchise Agreement, Dickey’s shall have the right to enter
upon the premises of the franchised business, without being guilty of trespass or
any other crime or tort, to make or cause to be made such changes as may be
required, at your expense, which expense you shall pay upon demand.

E. You shall comply with all terms, conditions and provisions of the Confidentiality
and Non-Compete Agreement dated March 20, 2006, including but not limited to
the prohibition of the sale of smoked meats and sausages.

19 On January 29, 2010, subsequent to the termination of the Franchise Agreement,

Mr. Daniel Sibley, Director of Construction for Plaintiff, made an on-site inspection of the
franchise location to determine whether such franchisee had complied with the notice of
termination and the franchisee’s post-termination obligations under the Franchise Agreement. As
more fully described in the Affidavit of Daniel Sibley filed contemporaneously herewith, Mr.
Sibley discovered that (a) Defendants had continued operation of a restaurant named “L.L.
Barbecue Pit” at the franchise location including food business which offers barbecue-style food
as a primary menu item in violation of Article 18 of the Franchise Agreement; (b) Defendants had
continued to use, disclose, advertise, promote and display Plaintiffs Trademarks, Proprietary
Marks, Trade Secrets and the Dickey’s System by the use of electric exterior signs over the
entrance, Dickey’s System menu signboards hung from the ceiling, large electric drive-thru menu

signboard, Dickey’s System yellow plastic cups, plates, paper cups, paper products and other

items authorized and licensed by Plaintiff, (c) Defendants have continued to use the Dickey’s

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System décor including historic black and white photographs, antique guns, utensils, wall art,
longhorns, tables, chairs and other décor items appearing on the walls and resting on the floor of
the restaurant; (d) Defendants have continued to serve food utilizing secret recipes constituting
trade secrets owned by Plaintiff; and (ec) Defendants have otherwise breached covenants of
confidentiality, covenants not to compete and have misappropriated trade secrets to their own use
and benefit.

IV.

CAUSES OF ACTION

COUNT NO. 1 -TRADEMARK INFRINGEMENT-LANHAM ACT

20. Paragraphs 7 through 19 above are incorporated herein by reference as if fully set
forth herein.

21. Beginning at least as early as 1941, Plaintiff's predecessors in interest adopted and
began to used the name “Dickey’s.” Beginning at least as early as June, 1994, Plaintiff adopted
and began to use “A Texas Tradition Since 1941 Dickey’s Barbecue Pit.” Beginning at least as
early as August 27, 2004, Plaintiff adopted and began to use “Since 1941 Dickey’s Barbecue Pit”.

The marks “Dickey’s” and “Since 1941 Dickey’s Barbecue Pit” have come to mean and is
understood to mean the Plaintiff and Plaintiffs products only, and the word “Dickey’s” is a mark
by which the products of the Plaintiff are distinguished from products of the same class of
services, being restaurant carry-out, restaurant and catering services. This is true throughout the
United States, including the State of Idaho and the City of Meridian. Plaintiffs restaurants are

operated under the name Dickey’s Barbecue Pit.

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22. Plaintiff, after due and proper recording, in that behalf, duly registered its
trademark “Dickey’s” in the United States Patent and Trademark Office on May 1, 2007 under
Registration No. 3,237,281. The registration is valid and subsisting, uncancelled, and unrevoked
and Plaintiff is the owner of such trademark. A true and correct copy of the registration is
attached to the Appendix of this Complaint as Exhibit “B” and incorporated herein by reference.

23. Plaintiff after due and proper recording, duly registered its trademark containing
“A Texas Tradition Since 1941 Dickey’s Barbecue Pit” in the United States Patent and
Trademark Office on June 11, 1996 under Registration No. 1, 980,072. The registration is valid
and subsisting, uncancelled and unrevoked and Plaintiff is the owner of such trademark. A true
and correct copy of the registration is attached to the Appendix of this Complaint as Exhibit “C”
and incorporated herein by reference.

24. Plaintiff after due and proper recording, duly registered its trademark containing
“Since 1941 Dickey’s Barbecue Pit” in the United States Patent and Trademark Office on
February 6, 2007 under Registration No. 3,201,121. The registration is valid and subsisting,
uncancelled and unrevoked and Plaintiff is the owner of such trademark. A true and correct copy
of the registration is attached to the Appendix of this Complaint as Exhibit “D” and incorporated
herein by reference. The trademarks described above as Exhibits B-D are collectively referred to
herein as the “Trademarks.”

25. Plaintiff has consistently used the Trademarks and other Proprietary Marks in its
System at its restaurants and with regard to catering services, food and food products, as served,

prepared and sold by the Plaintiff.

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26. Plaintiff has widely used the Trademarks and other Proprietary Marks in Dickey’s
System literature and advertising by which the appearance of the Trademarks and other
Proprietary Marks, have been recognized in the trade and by the public at large as identifying
restaurants, catering services, food and food products sold by the Plaintiff through its System.

27. Plaintiff has established itself as the lawful owner and user of the Trademarks and
other Proprietary Marks described above generally, and specifically as applied to System
restaurants, catering services, food and food products.

28. Plaintiff has continuously used the Trademarks and other Proprietary Marks in its
System in association with its counter-style, quick-service barbecue restaurants, catering services,
food and food products, from the date of registration to the present date.

29. During the period of use, Plaintiff has extensively advertised and promoted, at
expenses exceeding $16,000,000.00, its restaurants, catering services, food and food products
bearing the Trademarks and other Proprietary Marks in its System. Plaintiff's restaurants, catering
services, food and food products, have met with popular approval as a result of Plaintiff's
extensive sales and advertising.

30. During the period of use, Plaintiff's franchisees have sold in interstate commerce a
very substantial quantity of catering services, food and food products, bearing the Trademarks
and other Proprietary Marks in its System.

31. The Trademarks and other Proprietary Marks of the System have, by these means
become well known among purchasers. Due to the high quality of the restaurants, catering

services, food and food products sold under the Trademarks and other Proprietary Marks of the

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System, and the large advertising expenditures and sales by Plaintiffs franchisees, the Trademarks
and other Proprietary Marks of the System have acquired good will valued greatly in excess of
$25,500,000.00, representing to buyers in the trade the high quality of the restaurants, catering
services, food and food products served, prepared and sold by the Plaintiff's franchisees at their
restaurants.

32. Since the termination of the Franchise Agreement, Defendants, without license
from Plaintiff, have operated an apparent new restaurant now sometimes called “L.L. Barbecue
Pit” at the same location and continued to use the Trademarks and other Proprietary Marks of the
Dickey’s System and have promoted, sold, and advertised a competing restaurant, catering
services, food and food products at such apparent new restaurant and under the Trademarks and
other Proprietary Marks of the Dickey’s System. Defendants have failed to remove the
Trademarks and other Proprietary Marks of the Dickey’s System on their own apparent new
restaurant, catering services, food and food products tending falsely to describe or represent
them. Specimens of Defendants continued use of Plaintiff's Trademarks and other Proprietary
Marks continue to be displayed are attached to the Affidavit of Daniel Sibley and incorporated
herein by reference.

33. Defendants continued to use the Trademarks and other Proprietary Marks of the
Dickey’s System in the advertising, promotion, offering for sale, display and distribution of food,
food products and catering services at its restaurant with full knowledge of the termination of the
Franchise Agreement and the termination of their right to use the Trademarks and other

Proprietary Marks of the Dickey’s System as more fully described and prohibited by Article 10 of

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the Franchise Agreement .

34. As a result of Defendants continued use of the Trademarks and other Proprietary
Marks of the Dickey’s System on their apparent new restaurant, catering services, food and food
products of the Defendants, Plaintiff's registered Trademarks and other Proprietary Marks of the
Dickey’s System are enabled to and do substitute and pass off Defendants’ restaurant, catering
services, food and food products bearing the Trademarks and other Proprietary Marks of the

Dickey’s System as the products of the Plaintiff.

35. Plaintiff's catering services, food and food products bearing the Trademarks and
other Proprietary Marks of the Dickey’s System are sold in interstate commerce and Defendants’
catering services, food and food products bearing the Trademarks and other Proprietary Marks of
the Dickey’s System are sold at its restaurant in interstate commerce and constitute an
infrmgement of Plaintiff's Trademarks and other Proprietary Marks of the Dickey’s System.

36. Defendants’ use of the Trademarks and other Proprietary Marks of the Dickey’s
System 1s without the license or consent of Plaintiff and the food, food products and goods of the
Defendants are of the same descriptive properties as those set forth in Plaintiffs registration.

37. | The Trademarks and other Proprietary Marks of the Dickey’s System used by
Defendants while displaying the notice of a federal trademark registration of the letter R enclosed
in a circle ((R)), is false labeling by Defendants because Defendants are no longer a franchisee of
Plaintiff authorized to sell such food, food products and goods.

38, Defendants continued usage of the Trademarks and other Proprietary Marks of the

Dickey’s System in association with Defendants’ apparent new restaurant, catering services, food
y Pp

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and food products has caused and is likely to cause confusion in the trade and is likely to deceive
consumers as to the source and origin of the Defendants’ catering services, food and food
products sold in their restaurant.

39, The acts of Defendants, as described above, will nullify the right of Plaintiff to the
exclusive use, free from infringement, of the Trademarks and other Proprietary Marks of the
Dickey’s System described in this Complaint.

40. The acts of Defendants constitute trademark infringement, false designation of
origin and dilution of trademark under the laws of the United States including, without limitation,
15 U.S.C. § 1116,1117 and 1125. The Defendants use of Plaintiff's Trademarks and other
Proprietary Marks of the Dickey’s System amounts to unfair competition and has deprived the
Plaintiff of money and profits that it otherwise would have earned had the Defendants’ illegal and

improper conduct had not occurred.

41. As adirect and proximate result of Defendants’ conduct, Plaintiff has suffered
actual damages in the form of lost profits, lost sales, lost revenues, and out of pocket expenses in
an amount within the jurisdictional limits of the Court. In addition, Plaintiff is entitled to recover

treble profits or damages, whichever is greater under 15 U.S.C. §1117.

COUNT NO. 2 —- BREACH OF COVENANT NOT TO COMPETE

42. Paragraphs 7 through 41 above are incorporated herein by reference as if fully set
forth herein.

43. The Franchise Agreement in Article 18 between Plaintiff and Defendants includes

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certain confidentiality and non-compete covenants which provide in pertinent part as follows:

2.

44,

With respect to you, for a continuous, uninterrupted period commencing upon the
expiration or termination of, or transfer of all of your interest in, this Agreement,
or with respect to each of your Principals, for a continuous uninterrupted period
commencing upon the earlier of: (i) the expiration, termination or transfer of all of
your interest in this Agreement or (ii) the time such individual or entity ceases to
satisfy the definition of “your Principal” in Article 25(F), and for two (2) years
thereafter, except as otherwise approved in writing by Dickey’s, neither you nor
any of your Principals shall, either directly or indirectly, for yourselves or through,
on behalf of or in conjunction with any person(s), partnership or corporation:

a. divert or attempt to divert any business or customer of the franchised
business to any competitor, by direct or indirect inducement or otherwise,
or do or perform, directly or indirectly, any other act injurious or
prejudicial to the goodwill associated with Dickey’s Proprietary Marks and
the System, or

b. employ or seek to employ any person who is at the time employed by
Dickey’s, by an affiliate of Dickey’s, or by any other franchisee or
developer of Dickey’s, or otherwise directly or indirectly induce such
person to leave that person’s employment, except as may be permitted
under any existing Development Agreement or franchise agreement
between Dickey’s and you; or

C. own, maintain, operate, engage in or have any financial or beneficial
interest in (including interest in corporations, partnerships, trusts,
unincorporated associations or joint ventures), advise, assist or make loans

to, any business which is the same as or similar to the franchised business

including, but not limited to, any food business which offers barbecue-

style food as a primary menu item, which business is, or is intended to

be, located within a five(5) mile radius of the location approved

‘hereunder or of any “Dickey’s Barbecue Pit” restaurant in existence or

under construction as of the earlier of; (i) the expiration or termination of,
or the transfer of all of your interest in, this Agreement; or (11) the time
your Principal cease to satisfy the definition of your Principal, as
applicable.

(emphasis added)

On January 19, 2010 the Franchise Agreement was terminated. Subsequently,

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Defendant continued to operate a restaurant selling barbecue meats and food products the same as
or in competition with Plaintiff at the franchise location.

45. Plaintiff and Defendants entered into a valid and enforceable contract comprising a
covenant not to compete. The contract is ancillary to an otherwise enforceable agreement
because it is part of a valid Franchise Agreement that includes promises by Plaintiff to provide
Defendant with trade secrets in exchange for a promise by Defendants not to reveal those secrets.
Furthermore, the Franchise Agreement also includes a promise by Plaintiff to provide specialized
training, advertising, national marketing, software license, franchise operation assistance and
other good and valuable consideration.

46. The non-compete agreement is reasonably limited in time to a two (2) year period.
It is also reasonably limited in geographical area because it restricts Defendant from soliciting
former customers within a five (5) mile radius. The non-compete agreement is also reasonably
limited in scope because it only limits Defendants with regard to any business which is the same or
similar to the Restaurant, including but not limited to, any food business which offers barbecue
styled food as a primary menu item. These limitations as to time, geographical area, and scope of
activity are reasonable and do not impose a greater restraint than is necessary to protect the
goodwill and other business interest of Plaintiff.

47. Plaintiff has been injured as a direct and proximate result of Defendants’ breach of
the covenant not to compete.

48. As a result of Defendants’ conduct, Plaintiff has suffered actual damages in the

form of lost profits, lost sales, lost revenues and out of pocket expenses in an amount within the

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jurisdictional limits of this Court.

COUNT NO. 3- MISAPPROPRIATION OF TRADE SECRETS

49. Paragraphs 7 through 48 above are incorporated herein by reference as if fully set
forth herein.

50. Plaintiff is engaged in the business of franchising barbeque restaurants throughout
the United States. The Franchise Agreement includes certain confidentiality provisions, including,
without limitation, Articles 8.12, 11 and 12 which require the franchisee to abide by the System
for the operation of its restaurants. The operation of the restaurants requires Plaintiff to allow
franchisees access to certain confidential and proprietary information related to the System’s high
standards of quality, appearance and service and distinctive exterior and interior design, décor,
color scheme and furnishings; special recipes and menu items; uniform standards, specifications
and procedures for operations, quality and uniformity of products and services offered,
procedures for inventory and management control; training and assistance, and advertising and
promotional programs which are used by Dickey’s in the operation of the System (“Trade
Secrets”). Plaintiff incurred substantial expense and other burdens in developing these Trade
Secrets.

51. These Trade Secrets were, at all pertinent times, kept in the strictest confidence
and considered to be trade secrets belonging solely to Plaintiff.

52. On or about January 19, 2010 the Franchise Agreement was terminated and
Defendants obtained, for their own use, Plaintiffs Trade Secrets. The Trade Secrets were

obtained through a confidential relationship with Plaintiff or under circumstances giving rise to a

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duty not to use or disclose the Trade Secrets without Plaintiff's permission.

53. Since obtaining Plaintiffs Trade Secrets, Defendants have the information for
purposes of operating a restaurant at the franchise location. In fact, Defendant has used the Trade
Secrets to compete directly with Plaintiff in Plaintiff's same line of business.

54. Plaintiff was at all material times the owner of the Trade Secrets involving the
operation of a barbecue restaurant.

55. Defendants improperly acquired the Trade Secrets and misappropriated them to
their own use by continuing to use the Trade Secrets after the termination of the Franchise
Agreement without the authority, consent or license of the Plaintiff and in violation of the
Franchise Agreement including the confidentiality provisions.

56. Plaintiff incurred substantial damage as a direct and proximate result of
Defendants’ use and/or disclosure of Plaintiffs Trade Secrets. Plaintiff is entitled to recover its
actual damages from Defendants in an amount within the jurisdictional limits of the Court.

57. As a result of Defendants’ misappropriation of trade secrets, Plaintiff has further
suffered consequential damages in the form of lost profits, lost sales, lost revenues, out of pocket
expenses in an amount within the jurisdictional limits of the Court.

COUNT NO. 4-SUIT ON ACCOUNT-DEFENDANT LIRA

58. Paragraphs 7 through 57 above are incorporated herein by reference as if fully set
forth herein.
59. As more particularly shown in the verified account attached to Plaintiffs complamt,

from October 2009 to the present date, Defendant Lira purchased for the Franchise certain items,

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materials and services from Plaintiff in the regular course of business, wherein Defendant Lira profited
from the items, materials and services and has failed to pay the outstanding invoices.

60. The Plaintiff sold and delivered to Defendant Lira items, materials and services
consisting of the use of trademarks, trade names, trade dress and marketing and advertising services for
the Franchise. The sales were made at the special instance and request of Defendant Lira, and the
items, materials and services were sold and delivered in the regular course of business. In consideration
of the sales on which a systematic record has been kept, Defendant Lira promised and became bound
and liable to pay the Plaintiff the prices charged for the items, materials and services in the total amount
of $16,203.93 as of February 9, 2010, being a reasonable charge for such items, materials and services.
The prices charged are in accordance with the agreement of Plaintiff and Defendant Lira and/or are the
usual customary and reasonable prices for those items, materials and services.

61. Defendant Lira received the items, materials and services and has not at the time of
filing of this suit rejected the same. Plaintiff would show the Court that the value of the subject items,
materials and services (upon which a systematic record has been kept) received by Defendant Lira from
Plaintiff is a sum equal to $16,203.93 as of February 9, 2010.

62. Defendant Lira has failed and refused to pay all or any part of the amounts due and
payable for the items, materials and services as reflected in the account more fully described above.
The account and charges set forth therein are all just and true. All just and lawful payments, offsets and
credits have been applied to the account.

63. Plaintiff has made numerous demands upon Defendant Lira to pay such sum due,

however, Defendant Lira refused and failed and still refuses and fails to pay Plaintiff such sum or any

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part thereof, all to Plaintiff's damage.

COUNT NO. 5-BREACH OF CONTRACT-DEFENDANT LIRA

64. Paragraphs 7 through 63 above are incorporated herein as if fully set forth.

65. In the alternative, Plaintiff entered into an express written agreement with Defendant
Lira whereby Plaintiff agreed to provide certain franchise services and marketing and advertising
services for the Franchise more fully described in the applicable Assumption Agreement and Franchise
Agreement. In the alternative, Plaintiff and Defendant Lira entered into an implied in fact contract
whereby the Defendant Lira accepted the items, materials and services with the knowledge that they
were offered at a certain price based upon the parties previous conduct and dealings (including prior
sales). In consideration of Plaintiffs agreement to provide such items, materials and services,
Defendant Lira promised to pay Plaintiff as more fully set forth above.

66. Plaintiff has fully performed all conditions, covenants, and obligations under the
agreements. Defendant Lira has breached its contract with Plaintiff by failing and refusing to pay
Plaintiff the contractual amounts and prices. After all just and lawful offsets, credits and payments have
been applied, there remains due and owing to Plaintiff the contract account amount of $16,203.93 as of
February 9, 2010, plus amounts incurred as of February 9, 2010 for damages, costs, expenses and legal
fees as a result of the default and termination for the Franchise Agreement which are recoverable
pursuant to Article. 171. of the Franchise Agreement including, without limitation, travel fees of $
2,534.38, pre-suit legal/administrative fees of $14,002.84, additional employee time and compensation
of $9,948.91, Sysco supplier product charge backs of $6,547.20, Sysco freight charges of $1,757,70

and postage and delivery of $56.00 for a total of $51,050.96 as of February 9, 2010. Plamtiff has

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requested payment from Defendant Lira but Defendant Lira has failed and refused to do so. All
conditions precedent to Plaintiff's right to recovery have been performed or have occurred.

COUNT NO. 6-BREACH OF GUARANTY-DEFENDANT MANGIONE

67. Paragraphs 7 through 66 above are incorporated herein by reference as if fully set
forth herein.

68. As a part of the Franchise Agreement, Defendant Mangione executed a “Guaranty of
Your Principals” in which Defendant Mangione guaranteed the covenants, representations and
warranties of the Franchisee and acknowledged and accepted the undertakings of the principals in the
Franchise Agreement. Plaintiff is the present owner and holder of the respective “Guaranty of Your
Principals” of the Franchise Agreement. Defendant Mangione is liable on the “Guaranty of Your
Principals” as a result of Defendant Lira’s breach of contract more fully alleged above. Defendant
Mangione has failed and refused and continues to fail and refuse to perform his obligations under the
respective “Guaranty of Your Principals” of the Franchise Agreement by paying to Plaintiff all amounts
due thereunder. After all just and lawful offsets, credits and payments have been applied, there remains
due and owing by Defendant Mangione the amount of $51,050.96 as of February 9, 2010. All
conditions precedent to Plaintiff's right to recover have been performed or have occurred.

COUNT NO. 7- ACCOUNTING

69, Paragraphs 7 through 68 above are incorporated herein by reference as if fully set

forth herein.

70. Prior to the termination of the Franchise Agreement, Defendant Lira has

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conducted certain remote off-site sales including, without limitation, sales from a trailer which 1s
located routinely at Boise State University. Subsequent to the termination of the Franchise
Agreement, Defendants have profited form certain sales arising from Defendants’ infringement,
false designation of origin, dilution of trademark and other unfair competition without the license,
consent or permission of the Plaintiff. Defendant Lira has further failed to disclose all sales
records for all operations, both on-site and off-site, or to allow Dickey’s representatives to inspect
the restaurant premises and review all accounting records. The exact amounts and nature of the
amounts due to Plaintiff are unknown to Plaintiff and can not be exactly determined without an
accounting of the financial and accounting books and records of Defendants. An investigation of
the financial books and records of Defendants is necessary since there is no adequate remedy at
law and in order to establish the amounts due to Plaintiffs. Plaintiffs request the Court order an

accounting of the transactions between the parties.

COUNT NO. 8-TEMPORARY RESTRAINING ORDER AND TEMPORARY AND
PERMANENT INJUNCTION

71. Paragraphs 7 through 70 are incorporated herein by reference as if fully set forth

herein.

72. Unless restrained by the Court, the Defendants will continue their illegal conduct
and infringe Plaintiffs registered Trademarks and other Proprietary Marks of the Dickey’s System
and misappropriate the Trade Secrets of the Plaintiff. Defendants will greatly impair or destroy
the value of the business of Plaintiff. As a result of Defendants’ actions, Plaintiff has and will
continue to suffer irreparable injury from which Plaintiff has no adequate remedy at law.
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73. As set forth in the verified complaint, the Affidavit of Daniel Sibley, the Affidavit
of Michelle Frazier and the supporting Brief, Defendants are improperly using the Plaintiffs

Trademarks, Proprietary Marks and Trade Secrets in a manner that severely injures the Plaintiff.

74. There is a substantial likelihood that the Plaintiff shall prevail in a trial on the
merits in this action. Defendants’ continued use of the Trademarks, Proprietary Marks and Trade
Secrets of the Dickey’s System constitutes actionable trademark infringement, passing off and

false designation of origin under the Lanham Act and misappropriation of Trade Secrets.

75, In the meantime, pending trial on the merits, Plaintiff is being irreparably injured by
Defendants’ acts. The Affidavit of Daniel Sibley shows that the Defendants’ appropriation of the
Plaintiff's property rights in the Trademarks, Proprietary Marks and Trade Secrets of the Dickey’s

System is not only severe, but is of a nature so that there is no adequate remedy at law.

76. If the Defendants were compelled to comply with the requested injunctive relief,
the Defendants would suffer virtually no hardship since the law does not recognize any hardship
that flows from requiring a party to abstain from the misappropriation of another’s property. Any
hardship suffered by the Defendants in complying with the requested injunctive relief is not
comparable or compensible because Defendants did not establish the Trademarks, Proprietary
Marks and Trade Secrets of the Dickey’s System, as Plaintiff did, by means of long, continuous,
extensive use, expensive and protracted promotion and registration of the Trademarks in

association with restaurants, food, food products and goods.

77. Plaintiff is willing to post a bond or other security in the amount the Court deems

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appropriate under F.R.C.P. 65 (c). No prior request for this or similar relief has been made.

78. This application is based upon this verified Complaint, the Affidavit of Daniel
Sibley (Appendix), the Affidavit of Michelle Frazier (Appendix), the supporting brief, the exhibits
to the Complaint and the Affidavits attached to the Appendix, all of the papers and records on file
in this action, and whatever evidence and argument may be presented at the hearing of this

application.

V.

ATTORNEYS FEES

79. Plaintiff has presented its claim to Defendants and demanded payment. More than
thirty (30) days have expired since such demand was made, however, the accounts and indebtednesses
have not been paid or satisfied. Plaintiff necessarily employed the undersigned attorneys to bring suit
and has agreed to pay reasonable attorney's fees for their services for one trial or hearing of this cause
and additional reasonable amounts for any other trials, hearings or appeals in this or any other court, to
which Plaintiff is entitled under Article 38.001 Texas Civil Practice and Remedies Code, 15 USC §
{117(a) and pursuant to the Franchise Agreement, including, without limitation, Art. 17.

VI.

PRAYER FOR RELIEF

WHEREFORE, PREMISES CONSIDERED, Plaintiff Dickey’s Barbecue Restaurants, Inc.
prays that Defendants Lira, LLC and Luigi Mangione be cited to appear and answer herem and upon

preliminary and final determination hereof, Plaintiff Dickey’s Barbecue Restaurants, Inc. prays for

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judgment against the Defendants Lira, LLC and Luigi Mangione awarding Plaintiff Dickey’s Barbecue
Restaurants, Inc.:

1. Its actual damages;

2. A temporary restraining order and subsequently a preliminary and final injunction
against Defendants, their officers, agents, servants, employees, attorneys, privies, successors,
assigns and all claiming any rights through them and those persons in active concert or
participation with them restraining them from:

a. Operating the restaurant located at 2441 N. Snow Goose Way, Meridian, Idaho
83646 and shall not thereafter directly or indirectly, represent to the public or hold themselves out
as a present or former franchisee of Dickey’s.

b. Using, in any manner, any confidential methods, procedures, techniques, and Trade
Secrets, associated with the System, the Trademarks, the Proprietary Marks, and all other
distinctive forms, slogans, signs, symbols, devices associated with the System, as set forth in the
manuals including all signs, advertising materials, displays, stationary, forms, and other articles
which display the Trademarks, the Proprietary Marks and Trade Secrets as those terms are
defined in the Franchise Agreement.

Cc. Using, disclosing, advertising, promotion or display of the Trademarks, Proprietary
Marks and Trade Secrets of Dickey’s Barbecue Restaurants, Inc., or its System as such terms are
defined in the Franchise Agreement.

d. Offering for sale, sale or distribution of food, food products and catering services

in any manner by falsely designating the origin of the Defendants’ products in a manner that is

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likely to cause confusion, mistake or deception as to the affiliation, connection or association of
Defendants with, or to Plaintiff Dickey’s Barbecue Restaurants, Inc. or its System.

€. Passing off or otherwise representing to the public in any way that the products
sold by Defendants emanates from or is related in source or sponsorship or any other way to
Plaintiff Dickey’s Barbecue Restaurants, Inc.

f. Infringing on Plaintiff Dickey’s Barbecue Restaurants, Inc. common-law rights by
using, advertising, promotion, display, distribution, offering for sale, and sale of any product
copying Plaintiffs System, Trademarks, Proprietary Marks and Trade Secrets.

g. Injuring Plaintiff Dickey’s Barbecue Restaurants, Inc.’s business reputation or
diluting the distinctive quality of Dickey’s Barbecue Restaurants, Inc.’s System, Trademarks,
Proprietary Marks and Trade Secrets.

h. Engaging in deceptive trade practices or acts in the conduct of their business by
using, advertising, promotion, display, distribution, offering for sale, and sale of food, food
products, and catering services at their restaurant or otherwise, copying the Dickey’s Barbecue
Restaurants, Inc.’s System, Trademarks, Proprietary Marks and Trade Secrets.

1. Violating the confidentiality and non-compete agreements set forth in the
Franchise Agreement including, without limitation, by owning, maintaining, operating, engaging in
or having any financial or beneficial interest in, advising, assisting or making loans to, any business
which is the same as or similar to a Dickey’s restaurant, including, but not limited to, any food
business which offers barbecue-style food as a primary menu item which business is, or is intended

to be, located within a five (5) mile radius of 2441 N. Snow Goose Way, Meridian, Idaho 83646

PLAINTIFF'S ORIGINAL COMPLAINT AND APPLICATION FOR TEMPORARY RESTRAINING ORDER, PRELIMINARY
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for a period of two (2) years following the termination of the Franchise Agreement on January 19,
2010.

3. An accounting for damages and profits arising from Defendants’ infringement,
false designation of origin, unfair competition and breach of the Franchise Agreement, including
all profits realized from the sale of the food, food products and goods at their restaurant or
otherwise;

4. An order that all manuals, signs, sign boards, electric signs, menus, prints,
displays, packages, plates, cups, décor items, photographs, wrappers, receptacles, or
advertisements or other items constituting a part of the Dickey’s System in the possession of
Defendants bearing the infringing Trademarks, Proprietary Marks, Trade Secrets or constituting
part of the System must be delivered up to the Court for impounding during the pendency of this
action and upon final hearing an order that such material be destroyed;

5. Plaintiff recover treble profits or damages, whichever is greater under 15 U.S.C.
S1117;

6. Prejudgment interest thereon at the highest rate allowed by law until the date of
judgment and post judgment interest thereon as provided by law from the date of judgment until paid;

7, Costs of Court;

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8. Such other and further relief to which Plaintiff Dickey’s Barbecue Restaurants, Inc.

may show itself justly entitled.

Respectfully submitted,

WESNER COKE & CLYMER, P.C.

Stephen A. Coke

Texas State Bar No. 04519000

Richard W. Winn

Texas State Bar No. 21779700

Three Galleria Tower - Suite 800

13155 Noel Road

Dallas, Texas 75240

Telephone: (972) 770-2600

Fax: (972) 770-2601

E-mail: scoke@wecpc.com
rwinn@wecpe.com

ATTORNEYS FOR PLAINTIFF

DICKEY’S BARBECUE RESTAURANTS, INC.

PLAINTIFF'S ORIGINAL COMPLAINT AND APPLICATION FOR TEMPORARY RESTRAINING ORDER, PRELIMINARY
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VERIFICATION

STATE OF TEXAS §
COUNTY OF DALLAS

BEFORE ME, the undersigned authority, on this day personally appeared the undersigned
affiant, Michelle Frazier, who being duly sworn on oath states that she is Vice-President of
Accounting and Administration of Dickey’s Barbecue Restaurants, Inc. that she is duly authorized and
qualified to make this Verification on behalf of Dickey’s Barbecue Restaurants, Inc., that she has read
the foregoing Plaintiffs Original Complaint and Application for Temporary Retraining Order,
Temporary And Permanent Injunction and Recovery of Damages and that the factual allegations
contained therein are true and correct based on her personal knowledge.

Further, Michelle Frazier states that the statement marked as Exhibit A to the Appendix to this
Complaint is a true and correct copy of the account made in the regular course of business between
the parties and is just, true and correct; that there is now due and owing under the account the sum of
$16,203.93 as of February 9, 2010 representing the cost or reasonable value of such items, materials
and services, and that all just and lawful offsets, payments and credits have been allowed.

DICKEY’S BARBECUE RESTAURANTS, INC.
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Michelle Fifizres-Vacs President of Accounting and
Administrats

PLAINTIFF'S ORIGINAL COMPLAINT AND APPLICATION FOR TEMPORARY RESTRAINING ORDER, PRELIMINARY
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SUBSCRIBED AND SWORN before me this //  dayot /@ Arua ry, 2010.

Notary Public in and for
the State of Texas

PLAINTIFF'S ORIGINAL COMPLAINT AND APPLICATION FOR TEMPORARY RESTRAINING ORDER, PRELIMINARY
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CIVIL COVER SHEET

"a]S 44 (FXND Rev. 2/10)

The JS 44 civil cover sheet and the information contained herein neither reptace nor supplement the filing
provided by local rules of coun. This form, approved by the Judic

Initiating the civil docket sheet

(SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

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and service of pleadings or other papers as required by law, except as
ial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of

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WE

L. (a) PLAINTIFFS

Dickey's Barbecue Restaurants, Inc.

(b) County of Residence of First Listed Plaintiff
(EXCEPT IN U.S. PLAINTIFF CASES)

Attorney’s

c
( diéphen A. Coke, W

Gar Name, Address, and Telephone Number
esner Coke & Ciymer,

Three Galleria Tower Suite 800, 13155 Noel Road

Dallas, Texas 75240

Dallas County, Texas

DEFENDANTS

Ce

.C. (972)

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co RT a}

Lira, LLC and Luigi Mangione

f First Listed Defendant

Ada County, Idaho

(IN U.S. PLAINTIFF CASES ONLY)

Il. BASIS OF JURISDICTION

(Place an “X” in One Box Only)

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PTF

PRINCIPAL PARTIES lace an “X” in One Box for Plaintiff

and One Box for Defendant)

Tl US. Government 3 Federal Question pn DEF PTF DEF
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IV. NATURE OF SUIT (Place an “X” in One Box Only
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O 110 Insurance PERSONAL INJURY PERSONAL INJURY | 610 Agriculture 0 422 Appeal 28 USC 158 (J 400 State Reapportionment
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130 Miller Act 315 Airplane Product Med. Malpractice C1 625 Drug Related Seizure 28 USC 157 430 Banks and Banking
140 Negotiable Instrument Liability 365 Personal Injury - of Property 21 USC 881 J 450 Commerce
7 150 Recovery of Overpayment [J 320 Assault, Libel & Product Liability © 630 Liquor Laws [ PROPERTY. RIGHTS O 460 Deportation
& Enforcement of Judgnent Slander C1 368 Asbestos Personal 0 640 RR. & Truck O 820 Copyrights O 470 Racketeer Influenced and
C151 Medicare Act OF 330 Federal Employers Injury Product 0 650 Airline Regs. 1 830 Patent Corrupt Organizations
C1 152 Recovery of Defaulted Liability Liability O 660 Occupational I 840 Trademark O 480 Consumer Credit
Student Loans J] 340 Marine PERSONAL PROPERTY Satety/Heatth O 490 Cable/Sat TV
(Excl. Veterans) 345 Marine Product O 370 Other Fraud 1 690 Other C3 810 Selective Service
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CF 195 Contract Product Liability [J 360 Other Personal Product Liability O 730 Labor/Mgmnt.Reporting 0) 864 SSID Title XVI O 890 Other Statutory Actions
196 Franchise Injury & Disclosure Act O11 865 RSI (405(g)) C1 891 Agricultural Acts
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OG 210 Land Condemnation O 441 Voting ($10 Motions to Vacate O 790 Other Labor Litigation O 870 Taxes (U.S. Plaintiff (1 893 Environmental Matters
O 220 Foreclosure ( 442 Employment Sentence O 791 Empl. Ret. Inc. or Detendant) {894 Energy Allocation Act
C 230 Rent Lease & Ejectment [O 443 Housing/ Habeas Corpus: Security Act O 871 IRS—Third Party 7 895 Freedom of Information
O 240 Torts to Land Accommodations O 530 General 26 USC 7609 Act
1 245 Tort Product Ltability S) 444 Welfare C} 535 Death Penalty IMMIGRATION J 900Appeal of Fee Determination
£7 290 All Other Real Property }O 445 Amer. w/Disabilities - [1 540 Mandamus & Other [G 462 Naturalization Application Under Equal Access
Employment OO 550 Civil Rights © 463 Habeas Corpus - to Justice
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Other 0 465 Other Immigration State Statutes
O 440 Other Civil Rights Actions

V. ORIGIN (Place an “X” in One Box Only) Transferred fi Appeal to District
Stl Original 1 2 Removed from | 3.  Remanded from O 4 Reinstatedor O 5 another district 16 Multidistrict TW 7 Magistrate
Proceeding State Court Appellate Court Reopened (specify) Litigation Judement

VI. CAUSE OF ACTION

15 U.S.C. §1116,.1117,1125

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):

Brief description of cause:

Trademark infringement, false designation or origin, TRO, Preliminary and Permanent Injunctive Relief

VII. REQUESTED IN ~— 7 CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER F.R.C.P. 23 51,050.96 JURY DEMAND: OYes ONo
VII. RELATED CASE(S) (See instructions)
PENDING OR CLOSED: JUDGE DOCKET NUMBER

DATE

d-~rle — sd

FOR OFFICE USE ONLY

RECEIPT #

AMOUNT

APPLYING IFP

JUDGE

SIGN JRE-GIAFFORNEY OF RECORD é
PEERS COs be
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MAG. JUDGE

